
65 N.Y.2d 683 (1985)
The People of the State of New York, Respondent,
v.
Carlos Castro, Appellant.
Court of Appeals of the State of New York.
Argued May 1, 1985.
Decided May 30, 1985.
Judith Waksberg and William E. Hellerstein for appellant.
Robert M. Morgenthau, District Attorney (John H. Goodwin and Norman Barclay of counsel), for respondent.
Concur: Chief Judge WACHTLER and Judges JASEN, MEYER, SIMONS and KAYE. Taking no part: Judges ALEXANDER and TITONE.
Order affirmed. We agree with the Appellate Division that there was no abuse of discretion in permitting the challenged testimony.
